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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


UNITED STATES OF AMERICA,
               Plaintiff,

         v.                                           Case Number 2:23-cr-242
                                                      Judge Edmund A. Sargus, Jr.
JOEL MEFFORD,
                       Defendant.



TAKE NOTICE that a proceeding in this case has been set for the place, date and time set forth
below:

Place:         United States District Court
               Joseph P. Kinneary U.S. Courthouse             Courtroom Number 311
               85 Marconi Boulevard                           August 27, 2024 at 10:15 a.m.
               Columbus, Ohio 43215

TYPE OF PROCEEDING: Change of Plea

If the Defendant is on bond, it is the responsibility of counsel to notify the defendant of the
hearing, date, location and time.



                                              EDMUND A. SARGUS, JR.
                                              UNITED STATES DISTRICT JUDGE
DATE: August 7, 2024

                                                 /s / Christin M. Werner
                                              (By) Christin M. Werner, Deputy Clerk
